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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                       :
                                               :
       v.                                      :       Criminal No. 21-cr-52-3 (TJK)
                                               :
MATTHEW GREENE,                                :
                                               :
                       Defendant.              :

                                    JOINT STATUS UPDATE

       The United States of America, by and through its attorney the United States Attorney for

the District of Columbia, and defendant Matthew Greene, by and through his attorneys Michael

Kasmarek and Michael Spano, hereby notify the Court that defendant Greene’s cooperation

remains ongoing.     The parties request that the Court set another deadline, in approximately 120

days, at which the parties can provide a further update.    The parties do not request that the Court

set a sentencing date at this time, and we thank the Court for its attentiveness to this matter. 1




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       Counsel for both parties apologize to the Court for missing the original deadline to
provide this update, and thank the Court for the sua sponte extension of time to file to June 22,
2022, as reflected in the Minute Order entered June 15, 2022.
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        Undersigned counsel has provided a copy of this notice to Michael Kasmarek and Michael

Spano, Esq., counsel for Matthew Greene, and counsel advised that undersigned counsel may file

this as a joint notice.

                                           Respectfully submitted,

                                           MATTHEW M. GRAVES
                                           United States Attorney
                                           DC Bar No. 481052


                                    By:      /s/ Erik M. Kenerson
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